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 3                                     UNITED STATES DISTRICT COURT
 4                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
 5                                          SAN FRANCISCO DIVISION
 6

 7
     UNITED STATES,                                            Case No.: CR 18-00418 VC
 8

 9                            Plaintiff,
                                                               [PROPOSED] ORDER TO DELAY
10                    v.                                       DEFENDANT’S SURRENDER DATE 90
                                                               DAYS
11
     WILLIAM GARLOCK,
12                                                             DENIED
                              Defendant.
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             GOOD CAUSE APPEARING, it is hereby ordered that Defendant’s surrender date be
16                                                              ISTRIC
                                                        T ES D           T
     delayed 90 days. Defendant’s surrender date is nowAOctober 16, 2021. C
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19   Dated: July 9, 2021                                              DENIE
                                                        _______________________________________
                                                        The Hon. Vince Chhabria
                                                                                                R NIA


20                                                      United States District Judge
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     United States v. Garlock; Case No. CR 18-00418 VC; Stipulation and [Proposed] Order re Surrender Date
